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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

CLARA FINCH CRUZ, M.D.                                                    PLAINTIFF


v.                                                       CIVIL ACTION NO.:2:18-cv-2483


ROBERT WILKIE, ACTING SECRETARY,
U.S. DEPARTMENT OF VETERANS AFFAIRS                                       DEFENDANT
 

            NOTICE OF SERVICE OF PLAINTIFF’S SUPPLEMENT TO HER
                  ELECTRONICALLY STORED INFORMATION
                                                      
                                                      
        PLEASE TAKE NOTICE that Plaintiff has this day served the following:  

      1. Plaintiff’s Supplement to Electronically Stored Information via the USAfx File
Exchange. 
                
       A true and correct copy of this Notice has been served upon the Defendants. The original
pleading is being retained in the possession of counsel for the Plaintiff.  
     
     
        THIS the 16th day of November, 2018.  

                                            Respectfully submitted,  

                                           Clara Finch Cruz 
     
                                           /s/ Kristy L. Bennett      
                                           Kristy L. Bennett BPR #30016  
                                           Tressa V. Johnson BPR #26401  
                                           JOHNSON AND BENNETT, PLLC  
                                           1331 Union Avenue, Suite 1226  
                                           Memphis, TN 38104  
                                           (901) 402-6830 (direct)
                                           (901) 462-8629 (fax)  
                                           kristy@myjbfirm.com  
                                              
                                              
                                              
                                                  
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                                     CERTIFICATE OF SERVICE
         
            I, Kristy L. Bennett, one of the attorneys for the Plaintiff, do hereby certify that I have

this day served via ECF filing or by United States mail, postage prepaid, a true and correct copy

of the above and foregoing document to the following counsel of record:  

                                                         
Monica M. Simmons-Jones
United States Attorney’s Office
167 North Main Street, Suite 800
Memphis, TN 38103
monica.simmons@usdoj.gov

     
            THIS the 16th day of November, 2018.  

             
     
     
     
                                                                           /s/ Kristy L. Bennett           
                                                                           Kristy L. Bennett  
     
